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          Exhibit “A”
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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


  DISPLAY TECHNOLOGIES, LLC,

                         Plaintiff,
                                                                 Civil Action No. 2:17-cv-192
                  v.
                                                                 JURY TRIAL DEMANDED
  CANON U.S.A., INC.,

                         Defendant.


                                      DOCKET CONTROL ORDER

         In accordance with the scheduling conference held in this case, it is hereby ORDERED

  that the following schedule of deadlines is in effect until further order of this Court:

  August 20, 2018             *Jury Selection – 9:00 a.m. in Marshall, Texas

  July 31, 2018               *Pretrial Conference – 9:00 a.m. in Marshall, Texas before Judge
                              Roy Payne

  July 18, 2018               *Notify Court of Agreements Reached During Meet and Confer

                              The parties are ordered to meet and confer on any outstanding
                              objections or motions in limine. The parties shall advise the Court of
                              any agreements reached no later than 1:00 p.m. three (3) business
                              days before the pretrial conference.

  July 16, 2018               *File Joint Pretrial Order, Joint Proposed Jury Instructions, Joint
                              Proposed Verdict Form, Responses to Motions in Limine, Updated
                              Exhibit Lists, Updated Witness Lists, and Updated Deposition
                              Designations

  July 9, 2018                *File Notice of Request for Daily Transcript or Real Time Reporting.

                              If a daily transcript or real time reporting of court proceedings is
                              requested for trial, the party or parties making said request shall file a
                              notice with the Court and e-mail the Court Reporter, Shelly Holmes,
                              at shelly_holmes@txed.uscourts.gov.
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  July 2, 2018         File Motions in Limine

                       The parties shall limit their motions in limine to issues that if
                       improperly introduced at trial would be so prejudicial that the Court
                       could not alleviate the prejudice by giving appropriate instructions to
                       the jury.

  July 2, 2018         Serve Objections to Rebuttal Pretrial Disclosures

  June 18, 2018        Serve Objections to Pretrial Disclosures; and Serve Rebuttal Pretrial
                       Disclosures

  June 11, 2018        Serve Pretrial Disclosures (Witness List, Deposition Designations,
                       and Exhibit List) by the Party with the Burden of Proof

  May 14, 2018         *File Motions to Strike Expert Testimony (including Daubert
                       Motions)

                       No motion to strike expert testimony (including a Daubert motion)
                       may be filed after this date without leave of the Court.

  May 14, 2018         *File Dispositive Motions

                       No dispositive motion may be filed after this date without leave of
                       the Court.

                       Motions shall comply with Local Rule CV-56 and Local Rule CV-7.
                       Motions to extend page limits will only be granted in exceptional
                       circumstances.   Exceptional circumstances require more than
                       agreement among the parties.

  May 14, 2018         Deadline to Complete Expert Discovery

  April 23, 2018       Serve Disclosures for Rebuttal Expert Witnesses

  April 2, 2018        Deadline to Complete Fact Discovery and File Motions to Compel
                       Discovery

  April 2, 2018        Serve Disclosures for Expert Witnesses by the Party with the Burden
                       of Proof

  February 1, 2018     Deadline to Complete Mediation

                       The parties are responsible for ensuring that a mediation report is
                       filed no later than 5 days after the conclusion of mediation.

  January 25, 2018     Comply with P.R. 3-7 (Opinion of Counsel Defenses)



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  January 4, 2018      *Claim Construction Hearing – 9:00 a.m. in Marshall, Texas before
                       Judge Roy Payne

  December 21, 2017    *Comply with P.R. 4-5(d) (Joint Claim Construction Chart)

  December 14, 2017    *Comply with P.R. 4-5(c) (Reply Claim Construction Brief)

  December 7, 2017     Comply with P.R. 4-5(b) (Responsive Claim Construction Brief)

  November 23, 2017    Comply with P.R. 4-5(a) (Opening Claim Construction Brief) and
                       Submit Technical Tutorials (if any)

                       Good cause must be shown to submit technical tutorials after the
                       deadline to comply with P.R. 4-5(a).

  November 30, 2017    Deadline to Substantially Complete Document Production and
                       Exchange Privilege Logs

                       Counsel are expected to make good faith efforts to produce all
                       required documents as soon as they are available and not wait until
                       the substantial completion deadline.

  November 16, 2017    Comply with P.R. 4-4 (Deadline to Complete Claim Construction
                       Discovery)

  November 2, 2017     File Response to Amended Pleadings

  October 19, 2017     *File Amended Pleadings

                       It is not necessary to seek leave of Court to amend pleadings prior to
                       this deadline unless the amendment seeks to assert additional patents.

  November 10, 2017    Comply with P.R. 4-3 (Joint Claim Construction Statement)

  October 19, 2017     Comply with P.R. 4-2 (Exchange Preliminary Claim Constructions)

  September 29, 2017   Comply with P.R. 4-1 (Exchange Proposed Claim Terms)

  October 6, 2017      Comply with P.R. 3-3 & 3-4 (Invalidity Contentions)

  August 15, 2017      *File Proposed Protective Order and Comply with Paragraphs 1 & 3
                       of the Discovery Order (Initial and Additional Disclosures)

                       The Proposed Protective Order shall be filed as a separate motion
                       with the caption indicating whether or not the proposed order is
                       opposed in any part.




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  August 8, 2017             *File Proposed Docket Control Order and Proposed Discovery Order

                             The Proposed Docket Control Order and Proposed Discovery Order
                             shall be filed as separate motions with the caption indicating whether
                             or not the proposed order is opposed in any part.

  August 1, 2017             Join Additional Parties

  July 28, 2017              *File Notice of Mediator

  July 11, 2017              Comply with P.R. 3-1 & 3-2 (Infringement Contentions)
  (*) indicates a deadline that cannot be changed without showing good cause. Good cause is not
  shown merely by indicating that the parties agree that the deadline should be changed.

                                ADDITIONAL REQUIREMENTS

         Notice of Mediator: The parties are to jointly file a notice that identifies the agreed upon
  mediator or indicates that no agreement was reached. If the parties do not reach an agreement,
  the Court will appoint a mediator. The parties should not file a list of mediators to be considered
  by the Court.

          Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
  Motions: For each motion, the moving party shall provide the Court with two (2) copies of the
  completed briefing (opening motion, response, reply, and if applicable, surreply), excluding
  exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
  must include the CM/ECF header. For expert-related motions, complete digital copies of the
  relevant expert report(s) and accompanying exhibits shall submitted on a single flash drive.
  These copies shall be delivered as soon as briefing has completed.

          Indefiniteness: In lieu of early motions for summary judgment, the parties are directed
  to include any arguments related to the issue of indefiniteness in their Markman briefing, subject
  to the local rules’ normal page limits.

          Motions for Continuance: The following excuses will not warrant a continuance nor
  justify a failure to comply with the discovery deadline:

  (a)    The fact that there are motions for summary judgment or motions to dismiss pending;

  (b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
         unless the other setting was made prior to the date of this order or was made as a special
         provision for the parties in the other case;

  (c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
         was impossible to complete discovery despite their good faith effort to do so.

        Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
  the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO


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  shall include a proposed order that lists all of the remaining dates in one column (as above) and
  the proposed changes to each date in an additional adjacent column (if there is no change for a
  date the proposed date column should remain blank or indicate that it is unchanged). In other
  words, the DCO in the proposed order should be complete such that one can clearly see all the
  remaining deadlines and the changes, if any, to those deadlines, rather than needing to also refer
  to an earlier version of the DCO.

         Proposed DCO: The Parties’ Proposed DCO should also follow the format described
  above under “Amendments to the Docket Control Order (‘DCO’).”




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